Case 24-50792-hlb Doc 1333 Entered 12/20/24 15:18:55 Page 1 of 16

NVB 3001 (Rev. 12/24)

UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA eel me
Name of Debtor: Case Number:
Metamaterials, Inc. 24-50792

1, Name and address of holder of the Equity Interest 4 Check box if that
(the person or entity holding an Equity Interest in the Cee een are eee
Debtor. Referred to hereinafter as the “Interest onberest aaa ence interest RECEIVED
holder”): Attach copy of statement giving AND FILED

Kimberly A PHILLIPS particulars. DEC 18 2024

Po. By AT? "| m Check box if you have never
Check box if you have never U}S, BANKRUPTCY CQURT
Andover, Kansas 61002) see tC ouror the Debtors MARY A. SCHOTT, CLERK

in this case.

Telephone Number: wea:
DO Check box if this address

Sl 254% & IAB differs from the address on the

envelope sent to you by the

Debtor, COURT USE ONLY

NOTE: This férm SHOULD NOT be used to make a clainv against the Debtor for money: -owed,.A separate Proof of Claim |
form should be used for that purpose. This form should only be used ta assert an ‘Equity Interest in the Debtor, An Equity
Interest Is any right arising from any capital stock and any equity security in. any of the Debtor. An equity security is defined’.

: in the Bankruptcy Code as (a) a share in a corporation whether or not transferable or denominated: stock ar similar ; .
security, (b) interest of 4 limited partner in.a limited partnership, or (c) warrant or right other than a Tight to convert to. .

: purchase; sell, or subscribe toa share, security, or interest of a kind specified i in subsection (a) or ‘) herein, .

“Recount or - other number by which {aterest holder identifies Debtor (last Z Cheak here if this Proof of interest
digits only): replaces a previously filed Proof of Interest dated:
CO amends a previously filed Proof of Interest dated:

9, Name and Address of any person or entity that is the record 3. Date Equity Interest was acquired: q
holder for the Equity Interest asserted in this Proof of cy e C2]
Interest: webu) 5NP43/99 VARIOUS DATES Ce

Kobinttoock $1199 4)-7 2022-20
Telephone Nutnber: .
4. Total amount of member interest: 5. Certificate number(s): SEE frttac hee

6. Type of Equity Interest:
Please indicate the type of Equity Interest you hold: ‘
Check this box if your Equity Interest is based on an actual member interest held in the Debtor.
O Check this box if your Equity Interest is based on anything else and describe that interest:
Description:

7, Supporting Documents: Attach copies of supporting documents, such as stock certificates, option agreements, warrants, ctc,
DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain. If the documents are voluminous, attach a summary.

8. Date-Stamped Copy: To receive an acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and
copy of this Proof of Interest.

9. Signature:
Check the appropriate box.
Tam the interest holder. Cl Iam the interest holder’s authorized agent. [1] am the trustee, or the debtor, O 1am a guarantor, surety,
(Attach copy of power of attomey, ifany.) or their authorized agent. endorser, or other
(See Bankruptcy Rule 3004.) codebtor.
(see Bankruptcy Rule 3005.)

I declare under penalty of perjury that the information provided in this proof of interest is true and correct to the best of my knowledge, information, and reasonable belief,
4 .

printName: _Kaeyilsec] Uy + Hi LULA FS C

Title:

Company:__Address and telephone number (if different fram notice feud, ob OR

address above): (Signature)
Telephone number: ap b 25 BBs Pehiey@%4aho4

~

Penalty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 AND 33571
Kirmberl y PH LL} Pease 24-50792-hib Lobe | EniGM DekStBso5 page 2 op wou.

WW

Meta Mater MMATQ
Teslalnc TSLA
Teslalnc TSLA
Meta Mater MMATQ
Meta Mater MMATQ
Meta Mater MMATQ
Meta Mater MMATQ
Meta Mater MMATO
TestaInc TSLA
TeslaInc TSLA
Teslalnc TSLA
Teslalne TSLA
Teslalne TSLA
Teslalnc TSLA
TeslaInc TSLA
Taslalnc TSLA
Teslalnc TSLA
TeslaInc TSLA
TeslaInc TSLA
TeslaInc TSLA
Tesla lnc TSLA
TeslaInc TSLA
Teslalnc TSLA
Teslainc TSLA
TeslaInc TSLA
Teslalnc TSLA
Teslainc TSLA
Meta Mater MMATQ
Meta Mater MMATQ
Teslalnc TSLA
Teslalnc TSLA
Teslainc TSLA
Teslainc TSLA

Sell
Buy
Buy
Buy
Sell
Buy
Sell
Buy
Sell
Sell
Buy
Sell
Sell
Sell
Buy
Sell
Sell
Sell
Sell
Sell
Sell
Sell
Sell
Buy
Sell
Sell
Sell
Seil
Buy
Sell
Sell
Sell
Sell

Filled
Filled
Filled
Filted
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Fitled
Filled
Filled
Filled
Filled

2000
1

2
2000
1772
1772
10001
10000
2

5

pp
oa

NNN MAN ON Noo aw7 sb

2000 @0.0618

1 @211.21
2 @210.95

2000 @0.060

1772 @0.0594

1772 @0.059
10001 @0.068
10000 @0.0679

2 @209.83
5 @209,.51
2 @212.28
9 @211.08
10 @208.73
4 @214.58
7 @220.75
5 @220,22
5 @220.60
5 @220.58
7 @219.23
7 @219.22
6 @226.87
7 @226.95
6 @240.26
6 @240.87
2 @237.51
2 @238.70
2 @238.66

5000 @0.0678
5000 @0.0679

5 @241.11
5 @239.49
5 @239.79
2 @238.46

0.0618 DAY
211,21 DAY
210.95 DAY
0.06 DAY
0.0594 DAY
0.059 DAY
0.068 DAY
0.0679 DAY
209.83 DAY
209.51 DAY
212.28 DAY
211.08 DAY
208.73 DAY
214.58 DAY
220.75 DAY
220.22 DAY
220.6 DAY
220.58 DAY
219.23 DAY
219.22 DAY
226.87 DAY
226.95 DAY
240.26 DAY
240,67 DAY
237.51 DAY
238.7 DAY
238.65 DAY
0.0678 DAY
0.0679 DAY
241.11 DAY
239.49 DAY
239.79 DAY
238.46 DAY

01/24/2024 01/24/2024 10:25:14 EST
01/24/202¢ 01/24/2024 09:35:32 EST
01/24/2022 01/24/2024 09:34:43 EST
01/24/2022 01/24/2024 09:33:08 EST
01/23/2022 01/23/2024 17:15:22 EST
01/23/202¢ 01/23/2024 16:13:34 EST
01/23/2024 01/23/2024 16:02:10 EST
01/23/202¢ 01/23/2024 09:46:39 EST
01/19/202¢ 01/19/2024 10:37:54 EST
01/19/202¢ 01/19/2024 10:36:46 EST
04/19/2022 01/19/2024 09:55:32 EST
01/19/2022 01/19/2024 09:37:56 EST
01/19/202¢ 01/19/2024 04:40:27 EST
01/17/2022 01/17/2024 09:47:13 EST
01/16/2022 01/16/2024 10:08:46 EST
01/16/2024 01/16/2024 10:08:20 EST
01/16/202¢ 01/16/2024 10:06:33 EST
01/16/2022 01/16/2024 10:06:04 EST
01/12/202¢ 01/12/2024 13:25:34 EST
01/12/202¢ 01/12/2024 13:24:50 EST
01/11/202¢ 01/11/2024 13:30:21 EST
01/12/2022 01/11/2024 13:29:00 EST
01/08/2022 01/08/2024 16:32:05 EST
01/08/202¢ 01/08/2024 14:52:57 EST
01/05/2022 01/05/2024 18:07:26 EST
01/04/2022 01/04/2024 18:25:11 EST
01/04/202¢ 01/04/2024 18:24:46 EST
01/04/2022 01/04/2024 11:55:52 EST
01/04/202¢ 01/04/2024 11:24:51 EST
01/04/2022 01/04/2024 10:03:19 EST
01/04/2022 01/04/2024 10:00:23 EST
01/04/2022 01/04/2024 09:57:43 EST
01/03/2022 01/03/2024 16:07:21 EST
Gy mberhy PH i ldagd%50792-hIb oeb ANDAs! 18:55 Page 3of 16

Nvidia Corp NVDA
Nvidia Corp NVDA
TeslaInc TSLA
Teslalnc TSLA
TeslaInc TSLA
TeslaInc TSLA
TeslaInc TSLA
Teslalnc TSLA
TeslaInc TSLA
Teslainc TSLA
Teslainc TSLA
Teslainc TSLA
TeslaInc TSLA
TeslaInc TSLA
Teslainc TSLA
TeslaInc TSLA
Teslalnc TSLA
Teslainc TSLA
Teslainc TSLA
Teslalnc TSLA
TeslalInc TSLA
Teslalnc TSLA
Teslainc TSLA
TeslaInc TSLA
TeslaInc TSLA
Teslainc SLA
Meta Mater MMATOQ
Meta Mater MMATQ
Meta Mater MMATQ
Meta Mater MMATQ
TeslalInc TSLA
Teslalnc TSLA
Teslalnc TSLA

Sell
Buy
Buy
Buy
Buy
Buy
Sell
Buy
Buy
Buy
Sell
Sell
Buy
Sell
Sell
Buy
Sell
Sell
Buy
Buy
Buy
Sell
Sell
Seli
Sell
Sell
Sell
Buy
Sell
Buy
Sell
Buy
Sell

Filled
Fitled
Filled
Filled
Cancelled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled

oro fh A

15

RP
rw Bw Ss

aunnaa»anannwuovW WAN GO

ho
So
o
So

2000
2000
2000
4
4
3

4 @732.07
4 @730.45
9 @199.15
1 @201.55
3 @191.23
15 @193.24
7 @187.55
7 @188.71
4 @185.47
2 @183.33

14 182.94

4 @180.46
5 @190.86
2 @188.71
4 @188.38
3 @191.38
3 @190.73
9 @190.73
3 @195.64
6 @194.02
5 @193.89
2 @188.73
5 @189.02
6 @189.18
5 @189.16
3 @191.53

2000 @0.0585
2000 @0.0587
2000 @0.060

2000 @0.0601

4 @211.08
4 @210.85
3 @212.37

732.07 DAY
730.45 DAY
199.15 DAY
201.55 DAY
DAY
193.24 DAY
187,55 DAY
188.71 DAY
185.47 DAY
183.33 DAY
182.94 DAY
180.46 DAY
190.86 DAY
188.71 DAY
188.38 DAY
191.38 DAY
190.73 DAY
190.73 DAY
195.64 DAY
194.02 DAY
193.89 DAY
188.73 DAY
189.02 DAY
189.18 DAY
189.16 DAY
191.53 DAY
0.0585 DAY
0.0587 DAY
0.06 GTC
0.0601 DAY
211.08 DAY
210.85 DAY
212.37 DAY

2024

02/16/2022 02/16/2024 10:23:14 EST
02/16/2022 02/16/2024 10:12:21 EST
02/16/202¢ 02/16/2024 10:11:11 EST
02/15/202¢ 02/15/2024 17:03:38 EST
02/15/2024 09:33:29 EST

02/12/202¢ 02/12/2024 10:34:29 EST
02/07/2022 02/07/2024 18:09:47 EST
02/07/202¢ 02/07/2024 14:12:49 EST
02/06/202¢ 02/06/2024 15:10:43 EST
02/06/202¢ 02/06/2024 14:36:56 EST
02/06/202¢ 02/06/2024 14:24:38 EST
02/05/202¢ 02/05/2024 15:33:15 EST
02/01/202¢ 02/01/2024 17:06:34 EST
02/01/202¢ 62/01/2024 15:55:48 EST
02/01/2022 02/01/2024 15:54:41 EST
01/31/2022 01/31/2024 13:08:33 EST
01/30/202¢ 01/30/2024 16:21:03 EST
01/30/202¢ 01/30/2024 16:20:26 EST
01/30/202¢ 01/30/2024 10:41:54 EST
01/30/202¢ 01/30/2024 09:33:57 EST
01/30/202¢ 01/30/2024 09:32:00 EST
01/29/2022 01/29/2024 11:51:05 EST
01/29/2024 01/29/2024 11:50:02 EST
01/29/202¢ 01/29/2024 11:49:08 EST
01/29/202¢ 01/29/2024 11:48:48 EST
01/25/2022 01/25/2024 09:34:31 EST
01/24/202 01/24/2024 14:02:10 EST
01/24/202¢ 01/24/2024 14:00:30 EST
01/24/202¢ 01/24/2024 13:42:07 EST
01/24/202¢ 01/24/2024 13:13:34 EST
01/24/202¢ 01/24/2024 11:55:14 EST
01/24/202¢ 01/24/2024 11:49:44 EST
01/24/202¢ 01/24/2024 10:55:14 EST
Kimberly PEEL bPS702-nin peta BNDS4F 184. 15.55 Page 4 of 16

Nvidia Corp NVDA
Nvidia Corp NVDA
MARA Hold MARA
MARA Hold MARA
Nvidia Corp NVDA
Nvidia Corp NVDA
Walmart WMT
ApplelInc AAPL
Watmart WMT
Apple Inc AAPL

———> Meta Mater MMATQ
—»> Meta Mater MMATQ

Nvidia Corp NVDA
Nvidia Corp NVDA
Nvidia Corp NVDA
Nvidia Corp NVDA
Nvidia Corp NVDA
Nvidia Corp NVDA
Nvidia Carp NVDA
Nvidia Corp NVDA
Nvidia Corg NVDA
Nvidia Corg NVDA
Nvidia Corp NVDA
Nvidia Corp NVDA
Nvidia Corp NVDA
Nvidia Corp NVDA
Nvidia Corp NVDA
Nvidia Corp NVDA
Nvidia Corp NVDA
Trump Med DJT

Trump Med DJT

Nvidia Corp NVDA
Nvidia Corp NVDA

Sell
Buy
Sell
Buy
Sell
Buy
Sell

‘Sell

Buy
Buy
Sell
Buy
Sell
Sell
Buy
Buy
Sell
Sell
Selt
Buy
Buy
Buy
Sell
Buy
Buy
Sell
Sell
Buy
Buy
Sell
Buy
Buy
Buy

Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Fitled
Filled
Filled
Filled
Filled
Filied
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled
Filled

Filled

Filled
Filled
Filled
Filled
Filled
Filled
Filled

br Ooo Mm

38
11
38
11
123
123

p
POON NN FN FPN OD

OrRUOAaAhHE a & oo

5 @875.91
5 @875.75
8 @20.09
8 @19.95
4 @901.30

4 @900.18

38 @60.40
11 @169.94
38 @60.31
11 @169.62
123 @4.02
123 @3.93
6 @918.64
2 @904.88
1 @906.45
2 @907.97
1 @899.56
2 @899.48
2 @899.45
2. @901.69
3 @917.53
5 @931.28
11 @948.54
3 @948.94
8 @947.61
4 @954.87
5 @954.21
1 @958.55
4 @959.50
5 @49.80
5 @49.70
1 @957.01
3 @965.56

875.91 DAY
875.75 DAY
20.09 DAY
19.95 DAY
901.3 DAY
900.18 DAY
60.4 DAY
169.94 DAY
60.31 DAY
169.62 DAY
4.02 DAY
3.93 DAY
918.64 DAY
904.88 DAY
906.45 DAY
907.97 DAY
899.56 DAY
899.48 DAY
899.45 DAY
901.69 DAY
917.53 DAY
931.28 DAY
948.54 DAY
948.94 DAY
947.61 DAY
954.87 DAY
954.21 DAY
958.55 DAY
959.5 DAY
49.8 DAY
49.7 DAY
957.01 DAY
965.56 DAY

04/08/2024 04/08/2024 11:32:30 EDT
04/08/2022 04/08/2024 11:12:59 EDT
04/02/2024 04/02/2024 10:07:45 EDT
04/02/2022 04/02/2024 10:05:30 EDT
04/01/2022 04/01/2024 14:23:42 EDT
04/01/2022 04/01/2024 12:33:16 EDT
04/01/202¢ 04/01/2024 11:35:53 EDT
04/01/202¢ 04/01/2024 11:35:42 EDT
04/01/202¢ 04/01/2024 11:18:08 EDT
04/01/202¢ 04/01/2024 11:17:06 EDT
04/01/202¢ 04/01/2024 11:01:57 EDT
04/01/2022 04/01/2024 10:50:08 EDT
04/01/2024 04/01/2024 09:48:24 EDT
03/28/202¢ 03/28/2024 15:59:11 EDT
03/28/202¢ 03/28/2024 12:56:03 EDT
03/28/2024 03/28/2024 09:46:47 EDT
03/27/2024 03/27/2024 19:10:30 EDT
03/27/2024 03/27/2024 19:09:33 EDT
03/27/202¢ 03/27/2024 19:08:41 EDT
03/27/202¢ 03/27/2024 12:41:41 EDT
03/27/2024 03/27/2024 09:49:35 EDT
03/27/2024 03/27/2024 09:31:07 EDT
03/26/202¢ 03/26/2024 14:24:44 EDT
03/26/2022 03/26/2024 11:29:05 EDT
03/26/2022 03/26/2024 11:24:53 EDT
03/26/202¢ 03/26/2024 09:40:05 EDT
03/26/202¢ 03/26/2024 09:39:17 EDT
03/26/202¢ 03/26/2024 09:37:37 EDT
03/26/2022 03/26/2024 09:34:10 EDT
03/25/2022 03/25/2024 14:00:51 EDT
03/25/202¢ 03/25/2024 13:54:54 EDT
03/25/2024 03/25/2024 13:29:29 EDT
03/25/2024 03/25/2024 10:20:00 EDT

Z02¢4
Case 24-50792-hlb Doc 1333 Entered 12/20/24 15:18:55 Page 5 of 16

Page 7 ey
=
= 2
Apex Clearing Proceeds from Broker and Barter Exchange Transactions 2023 Form 1099-8+
5ND43189 (continued) 2024-02-10 OM te,
N
>.
SHORT-TERM TRANSACTIONS FOR COVERED TAX LOTS SS as
Report on Form 8949, Part | with Box A checked.
Box 2: Type of Gain or Loss - Short-term (unless indicated as Ordinary in Additional Notes Column)
Box 5: Box Not Checked (Covered Security) Box 6: Gress (unless indicated as Net in Additional Notes Cofumn) Box 12: Basis Reported to thy =,
Rs

‘la + Description of prope CUSIP | Symbol oo
P property | Sv if - Accrued Market

Discount (M) &

1c - DateSold or ib - Date le - Cost or 1g = Wash Sale Loss

Disposed Quantity 1d - Proceeds Acquired Other Basis Disallowed (PB) Gain or Loss {-) Addition, aa

META MATLS INC COMMON STOCK | CUSIP: 59134N104 | Symbol: #M067927 Qe,
2023-09-12 8046.0 1,735.47 Various 12,619.52 0.00 -10,884.05 =
2023-10-20 10000.5 1,472.16 Various 6,170.23 6.00 -4,698.13

2023-10-24 20006.0 2,798.36 Various 7,519.54 0.00 -4,721.18

2023-12-15 130000.0 9,600.47 Various 27,740.57 18,140.10 D 0.00

2023-12-18 61322.0 4,497.81 Various 12,157.49 7,659.68 D 0.00

2023-12-19 71539.0 5,110.09 Various 14,177.64 9,067.55 DB 0.00

2023-12-20 56047.0 3,560.45 Various 10,081.69 6,521.24 D -6.00

2023-12-21 699485.0 46,481.80 Various 148,158.15 101,676.35 D 0.00

2023-12-22 210894.0 14,178.79 Various 44,119.47 29,940.68 DBD 0.00

2023-12-26 205214.0 14,092.39 Various 42,288.73 28,196.34 D -0,00

2023-12-27 291657.0 20,256.90 Various 44,474.18 19,136.96 D . -§,080,32

2023-12-28 21329.0 1,532.58 2023-12-27 3,338.37 0.00 -1,805.79

Security Totals: 125,317.21 372,845.58 -27,189.47 oe
NOVO INTEGRATED SCIENCES INC COMMON STOCK | CUSIP: 67011T201 | Symbol: #N038258
2023-10-16 . 4999.0 1,501.96 2023-10-13 1,461.41 0.00 40.55

2023-10-18 500.0 151.47 Various 141.20 9.00 10.27

2023-10-19 19999.0 6,132.73 Various 5,889.19 0.00 243.54

2023-10-23 1472.0 439.06 Various 423.95 0.00 15.11

2023-10-24 19029.0 6,879.86 Various 5,445.94 0.00 1,433.92

2023-10-25 7039.0 2,157,32 Various 2,170.66 27.44 D 14.10

2023-11-02 39999.0 12,408.39 Various 12,001.48 177.51 D 584.42
Security Totals; 29,670.79 27,533.83 2,341.91 a
NOVO INTEGRATED SCIENCES INC COMMON STOCK | CUSIP: 67011T300 | Symbol: NVOS oo

2023-11-07 3268.0 3,720.50 Various 16,701.16 0.00 -6,980.66

* This Is Important tax Information and Is balng furnished te the Internal Revenue Service. If you are required to file a return, a nagligenca penalty or other sanction may be Imposed on you if this income Is taxabla and the IRS. deter,
has net been reported. Taxpayers ara reminded that they are ultimately responsible for the accuracy of their tax returns. Hes thar
Case 24-50792-hlb Doc 1333 Entered 12/20/24 15:18:55 Page 6 of 16

Page 17 =
_ =
Apex Clearing Proceeds from Broker and Barter Exchange Transactions 2023 Form 1099-B*
5ND43189 (continued) 2024-02-10 OMT ay

LONG-TERM TRANSACTIONS FOR COVERED TAX LOTS

Report on Form 8949, Part Ii with Box D checked.

Box 2: Type of Gain or Loss - Long-term (untess Indicated as Ordinary in Additional Notes Column)

Box 5: Box Not Checked (Covered Security)

Box 6: Gross (unless indicated as Net in Additional Notes Column)

Ns. 5

Box 12: Basis Reported to thy =
Tr
Ss

1a - Description of property | CUSIP | Symbol

Lf - Accrued Market
Discount (M) &

1c - DateSold or Lb - Date 1e - Cost or 1g - Wash Sale Loss

Disposed Quantity 1d - Proceeds Acquired Other Basis Disallowed (D) Gain or Loss (-) Addition, ar

META MATLS INC COMMON STOCK | CUSIP: 59134N104 | Symbol: #M067927 oS Netes”
2023-03-02 7000,0 4,203.18 Various 55,210.61 51,007.43 0.00

2023-09-12 6954.0 1,519.82 Various 54,451.42 0.00 -52,931.60

Security Totals: 5,723.00 109,662.03 -52,931,60 a
Totals: 5,723.00 109,662.03 -52,931.60 —S

* This Is Important tax Information and Is belng furnished to the tnternal Revenus Service. {f you are required to file a return, a negligence penalty or other sanction may be Imposed on you If this Income fs taxable and the IRS Sot
has nat been reported. Taxpayers are reminded that they ara ultimately responsible for the y of their tax returns. Res thar iy
Case 24-50792-hlb Doc 1333 Entered 12/20/24 15:18:55 Page 7 of 16

Page 11 of 14

Apex Clearing
5ND43189

Proceeds from Broker and Barter Exchange Transactions 2022 Form 1099-B*

(continued) 02/69/2023 OMB No. 1545-0715

LONG-TERM TRANSACTIONS FOR COVERED TAX LOTS

Report on Form 8949, Part If with Box D checked.
Box 2: Type of Gain or Loss - Long-term (unless indicated as Ordinary [n Additional Notes Column)
Box 5: Box Not Checked (Covered Security) Box 6: Gross (unless indicated as Net in Additional Notes Column) Box 12: Basis Reported to the IRS

The 1099-B data referenced by a Box Number is reported to the IRS. The additional information not referenced by a Box Number is not reported to the IRS but may be
helpful to complete your return.

1a - Descriptian of property | CUSIP | Symbo!

P Prop | | 1f - Accrued Market
Discount (M) &

1g - Wash Sale Loss

ic - DateSold or Cost or

Disposed Quantity 1d-Proceeds Date Acquired Other Basis Disallowed (D) Gain or Loss {-) Additional Notes
META MATLS INC COMMON STOCK | CUSIP: 59134N104 | Symbol: MMAT

2022-07-19 4500.000000 4,197.90 Various 34,250.95 30,053.05 D -30,053.05

2022-07-25 2024,000006 1,869.13 Various 16,716.42 14,847.29 D -14,847.29

2022-07-28 300,000000 277.75 Various 2,497.75 2,220.00 D -2,220.00

2022-10-13 1000.900000 1,221.87 2022-07-22 8,247,30 7,025.43 0 -7,025.43

2022-11-04 1000,000000 1,595.07 Various 7.732.42 6,137.35 D -6,137.35

2022-13-07 862.000000 1,379.83 2022-07-18 6,023.90 4,644.07 D 4,644.07

2022-11-08 478.000000 759.99 Various 3,215.73 2,455.74 BD -2,455.74

2022-11-14 148.000000 256.02 Varlous 1,154.10 898.09 D -B98.09

2022-1]-21 1580.000000 3,207.77 Various 11,919.17 8,711.40 D “8,711.40

2022-11-23 250,000000 457.51 2022-11-16 1,763.96 1,306.45 DB -1,306.45

2022-12-02 100.000000 185.98 2022-13-16 708.28 522.30 D -5§22.30

2022-12-07 13308.000000 31,938.01 Various 105,374.62 73,436.61 DB -73,436.61

2022-12-08 560.000000 1,024.20 2022-12-07 4,054.90 3,029.80 D -3,029.80

2022-12-16 124.000000 173.67 2022-12-07 901.77 728.10 D -728.10

Security Totals: 46,544.69 204,560,37 -156,015.68

Totals: 48,544.69 204,560.37 -156,015.68

* This is Important tax information and is being f 4 to ttre | 1 Service, Hf you are required to file a return, a neg!lgonce ponalty or other sanction may be Impased on you [f this Income is taxable and tha IRS determines that [t

¢. jaded that they aro ultimately

has not been

P

GF

‘sara

responsibla for the accuracy of thelr tax returns,
Case 24-50792-hlb Doc 1333 Entered 12/20/24 15:18:55 Page 8 of 16

Page 7 of 14
Apex Clearing Proceeds from Broker and Barter Exchange Transactions 2022 Form 1099-8«
5ND43189 (continued) 02/69/2023 OMB No. 1545-0715

SHORT-TERM TRANSACTIONS FOR COVERED TAX LOTS

Report on Form 8948, Part | with Box A checked.
Box 2: Type of Gain or Loss - Short-term (unless indicated as Ordinary in Additional Notes Coiumn)
Box 5S: Box Not Checked (Covered Security) Box 6: Gross (unless indicated as Net in Additional Notes Column) Box 12: Basis Reported to the IRS

The 1099-8 data referenced by a Box Number is reported to the IRS. The additional information not referenced by a Box Number is not reported to the IRS but may be
helpful to complete your return,

la - Description of prope CUSIP | Symbol
party | if - Accrued Market
Discount (M) &

ic - DateSold or Cost or 1g - Wash Sale Loss
Disposed Quantity ld - Proceeds Date Acquired Other Basis Disallowed (D} Gain or Loss (-) Additional Notes
{a
2022-12-01 3000.c00000 649.69 2022-12-01 719.40 69.71 D -69.71
2022-12-02 2500.000000 515,15 2022-12-01 599.50 84.35 D 84.35
2022-12-07 32566,000000 5,903.30 Various 6,613.30 102.14 DB -710.00
2022-12-15 1745.000000 533.89 2022-12-15 729.86 6.00 -195.97
Security Totals: 7,602.03 8,662.06 -1,060,.03
META MATLS INC COMMON STOCK | CUSIP: 59134N104 | Symbol MMAT
2022-01-03 750,000000 2,139.98 2021-06-28 6,254.43 4,114.55 D -4,114.55
2022-01-06 100.000000 248.98 2921-06-28 827.50 578.52 DB -578.52
2022-02-25 9.000000 16.32 2021-06-28 74.48 58.16 D -58.16
2022-02-28 60.000000 127.78 2021-06-28 496.50 368.72 D -368.72
2022-03-15 30.000000 50.53 2021-06-28 248.25 197.72 D -197.72
2022-03-24 60.000000 115.18 2021-06-28 496.50 381.32 DB -381.32
2022-05-12 50,00G000 57.99 2021-06-28 413.75 355.76 D -355.76
2022-05-17 95.000000 153.06 2021-06-28 786.12 633.06 D -633.06
2022-05-18 286.000000 486.86 2021-06-28 2,320,03 265,40 D -1,833.17
2022-05-20 100.000000 187.98 2021-06-28 796.00 - 0.00 -608.02
2022-05-27 50.000000 84,98 2021-06-28 398.00 313.02 D ~313.02
2022-06-06 5.000000 9.08 2021-06-28 39.80 30.72 D -30.72
2022-12-07 5085.000000 12,203.52 Various 10,227.18 182.14 D 1,976.34
Security Totals: 15,682.14 23,378.54 -7,496.40

= This [s Important tax Information and Is being furnished to the Internal Revenue Service, if you are required to file a return, a neqilganca penalty ar other sanction may be tmposed on you If this Income ts taxable and the [AS daterminas that It
has not been reported. Taxpayers are reminded that they ere ultimately r F ible for the ac y of thelr tax retums,

“pT UTS base 24-50792Ihlb “Dbc 1833 Enteted 12/40/24.15:18:55) Page of 46-1 = oy

ete hee - ] oo

Page 6 of 14
Apex Clearing Proceeds from Broker and Barter Exchange Transactions 2022 Form 1099-B«
5ND43189 (continued) 02/09/2023 OMB No. L Sq
SS
SHORT-TERM TRANSACTIONS FOR COVERED TAX LOTS S22 as

Report on Form 8949, Part | with Box A checked.
Box 2: Type of Gain of Loss - Short-term {unless indicated as Ordinary in Additional Notes Column)
Box 5: Box Not Checked (Covered Security) Box 6: Gross (untess indicated as Net in Additional Notes Column) Box 12: Basis Reported to the IRS

The 1039-B data referenced by a Box Number is reported to the IRS. The additional information not referenced by a Box Number is not reported to the IRS but may
helpful to complete your return. &,

la - Description of property | CUSIP | Symbol af - Accrued Market oo
Discount (M) &
1c - BateSold or Cost or 1g - Wash Sale Loss
Disposed Quantity ld- Proceeds Pate Acquired Other Basis Disallowed (D) Gain or Loss {-) Additional Nee.
META PLATFORMS INC CLASS A COMMON STOCK | CUSIP: 30303M102 | Symbol: META —S
2022-11-01 89.000000 8,534.00 2022-11-01 &,507.96 0.00 26.04
2022-11-07 3595 .000000 345,244.30 2022-11-07 344,605.03 69.86 D 639,27
2022-11-08 256.000000 . 24,743.58 Various 24,680.43 0,00 63.15
Security Totals: 378,521.88 377,793.42 728.46 _———
GAMESTOP CORP CLASS A | CUSIP: 36467W109 | Symbol: GME oo
2022-07-27 8.000000 268.20 2022-07-22 296.08 27.88 D -27,.88
2022-08-01 3.000000 102.28 2022-07-22 111.03 8.75 0 -8.75
2022-08-03 244.000000 8,918.19 Various 8,866.64 122.85 D 51.55
2022-08-11 200.000000 8,149.74 2022-08-11 8,130.39 0.00 19.35
Security Totals: 17,438.41 17,404.14 34,27 a
GEVO INC COMMON STOCK | CUSIP: 374396406 | Symbol: GEVO oe
2022-01-03 2130.000000 9,879.36 Various 12,920.04 0.00 -3,040.68
MODERNA INC COMMON STOCK | CUSIP: 60770K107 | Symbol: MRNA ee
2022-11-04 154.000000 : 24,188.96 Various 25,233.36 737.50 D0 -1,044.40
MARATHON DIGITAL HLDGS INC COMMON STOCK | CUSIP: 565788106 | Symbol: MARA a
2022-06-23 200.000000 1,391.93 Various 1,851.50: 459.57 D -459.57
2022-06-24 1750.000000 13,077.45 Various 14,185.50 1,724.11 D -1.108.05
2022-06-28 499 000000 3,565.21 Various 3,722.84 255.49 D -157.63
2022-07-01 67.000000 367.82 Various 605.30 237.48 D -237.48
2022-07-05 57.000000 330.08 2022-06-28 513.07 182.99 D -182.99
2022-07-07 2660.000000 11,184.73 Various 13,886.09 2,859.37 D -2,701.36
2022-07-08 1.000000 8.49 2022-07-06 13.25 4.76 D -4.76
2022-07-18 703.000000 6,614.98 2022-07-18 7,121.95 0.00 -506.97
2022-09-28 49.000000 514.96 2022-09-28 513.03 0.00 1.93
Security Totals: 37,055.65 42,412.53 -5,356.88 —

* This is Important tax Information and is being furnished ta the Intemal Revenue Sarvica. If you are requirad to file a retum, 4 negligence penalty or other sanction may ba Imposed on you [f this Income Is taxable and tha IAS determinas go
has not been reported. Taxpayers ara remisded that they are with rt F ibie for the y of thefr tax returns, ie

eter er ae eer

omnmnf S@24-50792zhlb-~Doc 1333 Eritered 12/20/24°T5:18'55% Pagjé10 of Té

eC erm

Account No:
MORGAN STANLEY DOMESTIC HOLDINGS, INC, Aocoum Name
E*TRADE SECURITIES LLC INC. Recipient's TIN:
PO BOX 484
JERSEY GITY, NJ 07303-0484 Accaunt Executive No:

ORIGINAL:

53643310
KIMBERLY A PHILLIPS
“082503

ET

12/31/2022

RECIPIENT'S Name, Street Address, City, State, and Zip Code
KIMBERLY A PHILLIPS

711

ANDOVER, KS 67002-7002

estes

22022, FORM 109928 CBROCEEDS FROM BROKER AND -BARTEREXC

PAYER'S TIN: XX-XXXXXXX

PAYER'S Name, Street, City, State, Zip Code:
MORGAN STANLEY DOMESTIC HOLDINGS, INC.

E*TRADE SECURITIES LLC
PO BOX 484

[_] FATCA Filing Requirement JERSEY CITY, NJ 07303-0484

Telephone Number: 800 387 2331

SHANGE TRANSAGTIONS 3723

The information provided betow is in accordance with Federal tax regulatlons and the IRS instructions that qovem our reporting requirements. ‘You should review this information
carefully when completing your Form 8949 and Schedule D. There may be instances where our reporting requirements will not be consistent with your particular tax accounting
position or etections. For these reasons, the IRS requires us to provide you with this reminder: Taxpayers are ultimately responsible for the accuracy of their tax returns.

Covered Short-Term Gains or Losses on Gross Proceeds
Report on Form 8949, Part | with Box A checked
Box 6: Gross Proceeds Box 5: Box Not Checked (Covered Security)

Box 12: Basis Reported to the IRS

The 1099-B data referenced by a Gox Number is reported to the (RS. The additional information not referenced by a Box Number is not raported to the IRS, but maybe helpful to complete your retum.

Box 2: Type of Gain or Loss -Short-Term

Accrued Wash Sale

Description of property Date Date Sold Cost or Market Loss GainfLoss
CUSIP Quantity Seld Acquired or Disposed Proceads Other Basis Discount Disallowed Amount Additional Informatian
(Box 1a) (Box 1b} (Box te) (Box td) (Box te) (Box tf) (Box cig)
META MATLS INC 400.00000 11/14/2022 11/18/2022 $3,439,23 $3,286.95 30,00 30.00 $152.28
PFD SERA 100.00000 44/14/2022 11/18/2622 $859.81 $836.95 $0.00 $0.00 $22.86
CUSIP: 59134N203 100.00000 11/14/2022 11/18/2022 $859.81 $731.95 $0.00 $0.00 $127.86

Subtotals 600.00000 $5,158.85 $4,855.85 $0.00 $0.00 $303.00
ne OL AGROSYSTEMS HOLDINGS 3.00000 71/18/2022 11/22/2022 $75.18 $74.94 $0.00 $0.00 $0.24
CUSIP: 848574109 12.00000 11/18/2022 11/22/2022 $300.71 $299,65 $0.00 $0.00 $1.06

Subtotals 15,00000 $375.85 $374.59 $0.00 $0.00 $1.30
TESLA INC 16.00000 11/16/2022 11/23/2022 $2,933.53 $3,038.88 $0.00 $0.00 ($105,35}
coNigon STOCK 1o,00000 17/18/2022 11/23/2022 $1,893.45 $1,776.66 $0.00 $0.00 $56.79

SIP: B8160R101 {0.00000 11/18/2022 11/23/2022 $1,833.46 $1,774.44 $0.00 $0.00 $59.02
THIS IS YOUR FORM toga (cory a FOR RECIPIENT}. KEEP FOR YOUR RECORDS.
This is Important tax Information and is belng furm)shed to tha IRS. If you are required to file a return, 7 negligence penalty or othor sanction
may be fmipesed on you Hf this Income Is taxable and the IRS determines that it has not been raportec.

Page 4 ot 7

-
oY oY “Qase 24950792-hlb Dac 1333] Entered 12/2)/24'15j18:55""JPage. 11 of 16} _ “}

6of7a
APEX CLEARING Proceeds from Broker and Barter Exchange Transactions 2021 Form 1099-8+
5ND43189 (continued) 01/31/2022 OMB Mao. 1545-0715

SHORT TERM TRANSACTIONS FOR COVERED TAX LOTS

Report on Form 8949, Part I with Box A checked.

Box 2: Type of Gain or Loss - Short-Term (unless indicated as Ordinary in Additional Notes Column)

Box 5: Box Not Checked (Covered Security) Box &: Gross (unless Indicated as Net in Additional Notes Column) Box 12: Basis Reported to the IRS

The 1099-8 data referenced by a Box Numberis reported to tha (RS. The additional information not referenced by a Box Number is not reported to the (RS but may be helpful to
complete your return.

Deseriptionof property { CUSIP | Symbol[Soxta) ©

Accrued Market Discount
Bate Sald or Date ()iBox 1 &
Disposed Proceeds Acquired Cost or Other Wash Sale Loss
{Box ic) Quantity (oxid) (Box 1b} Basis (Box 12} Disallowed (0)(Box tg) Gain or Loss{-) Additional Notes
META MAILS ING COMMON STOCK | CUSIP: 59134N104] Symbol(Box 1a}: MMAT
11/11/2021 200.00 951.97 OG/2g/2021 1,688.00 736.03 D 0.00 Sale
11/1 T/2021 500.00 2,354.97 Various 4,196.54 14157 6D 0.00 Sale
WAM 2/2021 2.00 952 06/28/2021 16.88 736 3D 0.00 Sale
AMAZe2021 3.00 14.32 06/28/2021 25.32 W1O6«O 6.00 Sala
1112/2021 14.00 66.62 06/28/2021 118.16 5154 0D 0.00 Sale
WA2/2621 100.00 4748.98 06/28/2021 844.00 5.02 0D 0.60 Sale
11/15/2024 3.00 14.41 o6/28/2021 25.32 1091 D 0.00 Sate
1Wis/2021 17.00 81.75 96/28/2021 143.48 61.73 D 0.00 Sale
1116/2021 60.00 262.19 08/28/2021 506.40 2471 D 0.00 Sale
1416/2021 200.00 87297 _ 06/26/2021 1,686.00 81503 D0 0.00 Sala
Security Totals: 22,685.59 35,239.63 3,456.60
BSQUARE CGRPORATION | CUSIP: 11776U300[ Symbol(Box 1a): BSOR
G2/09/202% 500.00 4,229.84 02/09/2021 4,190.00 0.00 39.84 Sale
02/09/2022 500.00 4,894.63 02/09/2021 4,663.00 0.00 231,83 Safe
02/09/2021 1,000.00 10,069.65 02/09/2021 10,730.06 32018 D -330.17 Sale
02/16/2021 500.00 3,73985 2/16/2021 4,055.18 0.00 -315.33 Sale
Security Totais: 22,934.17 23,638.18 373.83

? Ehis ts important tex information ond ta being to tre | ‘Sorvicg, (f you ars re to Hla aretum, a i P ¥ or other clon may be frp 2 on you ff thle income i taxable and the IRS detonmines that it
has not haan Ti am eke Taw dhe af eke ER

dlaed Hand Heed Gere

oad a “Clase 24-60792-hlb = Doc 1333) Entered 12/20/24 1518:55"|Pagée IW ofT6]  ~"] .°)

Sof78

APEX CLEARING Proceeds from Broker and Barter Exchange Transactions 2921 Form 1099-8
5ND43189 continue O1/31/2022 OMB No. 1545-0715

SHORT TERM TRANSACTIONS FOR COVERED TAX LOTS

Report on Form 8949, Parl | with Box A checked.

Box 2: Type of Gain of Loss - Short-Tem (untess indicated as Ordinary in Additional Notes Column)

Box 5: Box Not Checked (Covered Security) Box 6: Gross (unlessindicated as Net in Additional Notas Column) Box 12: Basis Reported to the IRS

The 1099-6 data referenced bya Box Numberis reported to the IRS. The additional Infonnation nat referenced by a Box Numberis not reported to the IRS but may be helpful to
complete your return. .

Description of property | CUSIP | Symbol(Box1a)

Accrued Market Discount
Date Sold or Date {WH{Box 1f} &
Disposed Proceeds Acquired Cost or Other Wash Sale Loss
{Box 12) Quantity (Box 1d} {Box tb) Basts (Box te) Disallowed (D}{Sex 19) Galn or Loss{ Additional Notes
“SOS LTD AMERICAN DPSTAY SHRSECH RPRSNTNG TEN CL A SHARES | CUSIP: 83587W108| Symbo!(Box 1a): SOS
03/09/2021 1,000.00 6,389.84 Various 7,551.41 116157 OD 0.00 Sale
03/11/2021 666.00 4,422.05 Various 5,203.51 7ai46 DG 0.00 Sale
03/11/2021 632.00 5,457.79 Various 6,409.39 951.60 D 0.00 Sale
oa/is/2o021 200.00 1,633.57 Various TAgLi7 25020 D 0.00 Sale
03/15/2021 500.00 3,674.92 Various 4,313.82 63850 BD 0.00 Sale
03/16/2021 700.00 5,460.89 Various 6,111.83 630.94 DB 0.60 Sala
03/17/2021 1,000.00 7,800.53 Various 8,790.95 483.02 D 407.10 Sale
04/07/2021 100.00 57956 Various 673.88 6.06 -93.90 Sale
04/07/2021 100.00 55758 Various 652.77 0.00 -104.79 Sale
o4jo7/2021 175.00 958.97 Various 1,239.27 0.06 -280.30_ Sale
Security Totats: 191,522.74 222.560855 -192.35
META MATLS INC GOMMON STOCK | CUSIP: 59134N104 | Symbol{Box ta): MMAT
06/28/2021 500.00 4,904.51 Various 5,027.07 14829 OD 26.13 Sale
06/28/2021 600.00 452451 Various 5100.37 17546 D 0.00 Sale
oejaaj2z021 100.00 325.98 Various "1,034.76 0,00 -708.76 Sata
08/02/2021 100,00 328.48 Various 1,033.57 0.00 -70509 Sale
08/03/2021 130.00 42532 Varlous 1,256.42 0.00 ~831.10 Sale
08/05/2021 100.00 32846 Various 959.22 0.00 630.74 Sale
oa/o5/2021 700.00 324.98 06/28/2021 972.00 0,00 847,02 Sale
10/28/2021 100.00 44155 Various 954.46 52248 D 0.00 Sale
11/01/2021 200.00 1051.37 Various 1,839.53 w75s6 GB 0.00 Sala
11/01/2021 200.00 1,019.97 Various 1,880.02 660.05 OD a.0o0 Sale
11/01/2021 200.00 995.97 Various 1,730.11 734.14 D 0.00 Sale
11/05/2021 300.00 1,478.95 06/28/2021 2514.00 1035.05 0D 000 Sale
11/08/2021 200,00 1,025.99 06/28/2021 1,676.00 65001 D 0.00 Sale

This is important fax information and is being fumished fo the intemal Revanus Service. if you are required to file araturn, a negligence ponalty or other sanction may be imposed on you ff this Incoms is taxable and the [AS determines that tH
Bene ried bee tee re thot dhs oe Piles Cm ie Ek ode aos oe

Case 24-50792-hlb Doc 1333 Entered 12/20/24 15:18:55 Page 13 of 16

Robinhot
‘Roblnhodd Securitle

SHORT TERM TRANSACTIONS FOR COVERED TAX LOTS [Ordinary gains or losses are identified in the Additional information column] (Lines 2 & 5)
Report on Form 8949, Part! with Box A checked. Basis is provided to the IRS. (Line 12)
*Gain or loss (-)” is NOT reported to ihe IRS.

1a- Description of property/CUSIP/Symbol

1c- Date 1d- Proceeds & 4f- Accrued mkt dise (D) & Galn or loss(-) &
sold cr 6-Reported ‘b- Date 1e- Cost or 4g-Wash saleloss 7- Loss not allowed (X)
disposed Quantity (G)ross or (Njet acquired other basis disallowed (WV) also not reported (Z) Additional Information
FINGERMOTION, INC. COMMON STCC K / CUSIP: 31768K108 / Symboh:
11/01/23 75.000 * 413.32 Various 408.16 5.16 Total of 3 transactions
11/16/23 29.000 135.14 Various 144.23 - -9.09 Talal of 2 transactions
Security total: §48.46 552.39 se 3,93
META MATERIALS INC. COMMON STO CK / CUSIP: 59134N104 / Symbol:
10/19/23 6,782,000 1,328.46 Various 9,912.87 oo -6,584.41 Total of 31 transactions
10/20/23 20,000.000 3,747.08 Various 7,029.73 we -3,282.65 Total of 20 transactions
10/23/23 10,000.565 1,523.48 Various 1,914.21 - -390.73 Total of 21 transactions
12/1 1/23 3,000,000 196.96 Various 196.80 a 0.16 Total of 3 transactions
Security totat: 6,795.98 19,053.61 ” 12,257.63
NIKE, INC. / CUSIP: 654106163 / Symbol:
11/14/23 98,000 10,378,710 Various 10,274.48 a 103.62 Total of 2 transactions
NVIDIA CORPORATION COMMON STOC K/ CUSIP: 670666104 / Symbol:
11/14/23 20,000 9,905.92 Various 9,880.00 ws 25.92 Total of 2 transactions
11/29/23 20.000 9,734.92 11/28/23 9,725.10 - 9.82 Sale =
Securlty total: 19,640.84 19,605.10 _ 35.74
PROSHARES ULTRA BLOOMBERG NATU RAL GAS / CUSIP: 743477763 / Symbol:
06/23/23 65.750 3,652.08 Various 5,295.51 ve -1,643.43 Total of 12 transactions
06/23/23 44,250 2,960.74 Varlous 4,599.14 1,623.09 W -15,31 Total of & transactions
Security total: 6,612.82 9,894.65 1,623.09 W 1,658.74
PROSHARES ULTRA BLCOMBERG NATU RAL GAS / CUSIP: 743477870 / Symbol:
03/03/23 285.000 2,003.49 Varlous 1,986.45 - 17.04 Total of 2 transactions
SPIRIT AEROSYSTEMS HOLDINGS, | NC. / CUSIP: 848574109 / Symbot:
11/01/23 260.000 6,174.91 Various 6,136.15 os 38,76 Total of 10 transactions
TESLA, INC, COMMON STOCK / CUSIP: 88160R101 / Symbol:
41/01/23 62.000 12,764.39 Various 12,366.73 - 407.66 Total of 4 transactions
11/02/23 43.000 9,232.02 11/02/23 9,206.74 ve 25.28 Sale
11/02/23 2,000 429.40 41/02/23 434.79 5.39 W 0.00 Sale *
11/06/23 44.000 9,943.92 Various 9,760.49 os 183.43 Total of 3 transactions
11/08/23 46.000 10,024.56 Various 9,947.10 os 77.46 Total of 4 transactions

* This Is important tax information and Is being furnished to the Internal Revenue Service. If you are required to file a return, a negligence penalty or other sanction may be Imposed on You j
this Income Is taxable and the IRS determines that it has not been reported. Remember, taxpayers are ultimately responsible for the accuracy of their tax return(s),
Case 24-50792-hlb Doc 1333 Entered 12/20/24 15:18:55 Page 14 of 16

Robinhood
Robinhoo Securitles LLC

' SHORT TERM TRANSACTIONS FOR COVERED TAX LOTS [Ordinary gains or losses are identified in the Additional information column] (Lines 2 & 5)
Report on Form 8949, Part ! with Box A checked. Basis is provided to the IRS. (Line 72}
“Gain or loss (-)° is NOT reported to the IRS.

fa- Description of property/CUSIP/Symbol

ic- Date td- Proceeds & 1f- Accrued mkt disc (D} & Gain or loss(-) &
sold or 6-Reported 1b- Date te- Cost or 1g-Wash saleloss 7-Loss not allowed (X)
digposed Quantity (G)ross or (Njet acquired other basis disallowed (WW) afso not reported (Z) Additlonal Information
TESLA, INC. COMMON STOCK / CUSIP: 88160R101 / Symbol: (cont'd)

11/43/23 45,000 9,939.87 Various 9,821.00 118.87 Total of 2 transactions
11/15/23 42,000 10,056.81 14/14/23 9,855.51 201.30 Sale 75
11/28/23 43,000 10,577.91 Various 10,553.24 24.67 Total of 2 transactions
12/14/23 42.000 10,541.91 Various 10,514.86 vss 27.05 Tatal of 2 transactions
12/28/23 30.000 7,625.93 12/28/23 7,616.09 - 9.84 Sale 7

Security total: 91,136.72 90,066.55 §.39 W 1,075.56
Totals : 157,671.03 172,872.34 2,079.30 W ~13,122.01

LONG TERM TRANSACTIONS FOR COVERED TAX LOTS [Ordinary gains or losses are identified in the Additional information column] (Lines 2 & 5)

Report on Farm 8949, Part li with Box D checked. Basis Is provided to the IRS. (Line 72)
*Gain or loss (-)" Is NOT reported to the IRS.

ta- Description of property/CUSIP/Symbol

ic- Bate 1d- Proceeds & 1f- Accrued mkt disc (D) & Gain or loss(-) &
sold or 6-Reposted tb-Date te- Cost or 1g-Wash saleloss 7-Loss not allowed (X)
disposed Quantity (G)ross or (Njet acquired other basis disallowed (WW) also not reported (2) Additional information
AGEAGLE AERIAL SYSTENS, INC. / CUSIP: 00848K101 / Symbol:
01/18/23 305.000 170.37 Various 1,158.95 986.58 W 0.00 Total of 9 transactions
06/15/23 1,624,000 466.53 Varlous 5,575.92 - -5,109.39 Total of 41 transactions
06/15/23 2,224,000 635.12 Various 7,808.78 7,173.66 W 0.00 Total of 46 transactions
Security total: 1,272.02 14,543.65 8,162.24 W 5,109.39
META MATERIALS INC. COMMON STO CK / CUSIP: 59134N104 / Symbol:
10/19/23 2,218.000 434.41 Various 15,788.54 on 15,354.13 Total of 32 transactions
Totals : 1,706,43 30,332.19 8,162.24 W 20,463.52

* This fs important tax Information and is being furnished to the Internal Revenue Service. If you are required to file a retum, a negligence penalty or other sanction may be Imposed on, You if
this Income is taxable and the IRS determines that it has not been reported. Remember, taxpayers are ultimately responsible for the accuracy of their tax return(s).
wees ten tage oe oo ane : ete at am corms em ay .
1 “base 34-50792/hIb’ “Doc 1334 Entered 12/30/24 19:18:55! Pagé 15 of 16 }
Page 7 of 1m
Robintigod Markets Inc. as agentfor ©") et uo ete te Aegount: 511949117
Robinhood Securities LLC” “Proceeds from Broker and i Batter Exchange Transactions. eT
2022. 1099-8". OMB No. 1seaHE Sot EL"? (eoittinited): eo eS B0TTB02B- S|

LONG TERM TRANSACTIONS FOR COVERED TAX LOTS [Ordinary gains ar losses are identified in the Additional information columal (Lines 2 & 5)
Report on Form 8949, Part If with Box D checked, Basis is provided to the IRS. (Line 12)
“Gain or loss (-}" is NOT reported to the IRS.

1a- Description of propertyiCUSIP/Symbal

1c- Date 1d- Proceeds & 4f Accrued mkt disc (D} & Gain or loss(4 &
sold or f-Reported 1b- Date te- Cost or 1g-Wash sale toss 7-Loss not allowed (X)
disposed Quantity (Gjross or (Njet acquired other basis disallowed (WV) ako not reported (2) Additional information
META MATERIALS INC. COMMON STO CK / CUSIP: 59134N104 / Symbol: (cont'd)
50,000 175.49 = 06/29/21 373.50 258.07 W 0.00 18 of 20- Sale
6,000 13.86 06/29/27 44.91 37.05 W 0.00 19 of 20- Sale

44.000 107.63  a7/19/21 149.60 47.97 W G.00 20 of 20 - Sale

12/06/22 2,000.000 4,199.62 Various 15,550.19 11,350.57 W 0,00 Total of 20 transactions

OFFERPAD SOLUTIONS INC. / CUSIP: 67623L109 / Symbok
§ transactions for 11/11/22. Total proceeds and cost reported fo the IRS.

40,000 34.50 O9/3G/2T 369.60 325.70 W 0,00 1 of B- Safe 5
4.000 3.46 9609/30/21 35.86 32.47 W 0.00 2 of 8- Sale
4.000 345 14/02/22 35.94 32.49 W 6.00 Jofd- Sale 7
40.000 3450 9671/02/22 360.36 325.86 W 0.00 4 of 8- Sale *
4.000 340 = 11/02/22 36,07 32.61 W 0.00 5 of 8- Sale 3
40.000 34.00 11/02/22 367.06 327.06 W a.00 6 of 8- Sale #
4.000 2.64 11/10/22 35.86 32.22 W 0.00 7 of 8 - Sale
40.000 36.47 41/10/22 359.60 323.19 W 0.00 8 of 8 - Sale 7
1141 1/22 176.000 153.35 Various 1,584.29 1,490.94 W 0.00 Total of 8 transactions
2 fansactions for 11/25/22. Total proceeds and cost reported to the IRS,
4,000 3.00 = 11/10/22 35,57 32.51 W. 0.00 1 of 2- Sale *
49,000 29.99 11/10/22 356.09 326.10 W 0.00 2 of 2 - Sale #3
11/25/22 44,000 32.99 Various 391.60 358.61 W 0.06 Total of 2 transactions
& transactions for 14/29/22. Total proceeds and cast reported fo the IRS,
30.000 23.46 11/14/22 270.68 247.22 W 0.00 1 of 6- Sale #
4,000 373 9 44/15/22 36,79 33.06 W 000 2 of 6- Sale
10.000 7.82 = 11/15/22 90.77 82.89 W 0.00 30f6- Sale 75
30,000 23.46 11/16/22 273.87 250.41 W 0.00 4 of G- Sale *
4,008 393 19/16/22 36,67 33.48 W 0.00 Sof 6 - Saie
70.000 7.82 19/16/22 S177 83.95 W 0.00 Gof6- Sale *
11/29/22 88.000 68,82 Various 799,83 731.01 W 0.00 Total of 6 transactions
3 transactions for 11/30/22. Talal proceeds and cost reported to tha IRS.
30.060 23.70 © 11/21/22 271,03 on -247.33 1 of 3- Sale
10.000 7.90 8614/21/22 90.82 ~ -82.92 2 of 3- Sale
4.000 3.76 1/2/22 36.23 - 33.07 3of3- Sale
41/30/22 44.000 34.76 Various 398.08 on -363.32 Total of 3 transactions

* This [s Important tax Information and [s halng furnished to the Intemal Revenue Service. If you are required to file a return, a negligence penalty or other sanction may be Imposed on you jf

this income is taxable and the IRS determines that it has not been raported. Remember, taxpayers are ultimately responsible for tha accuracy of their tax return(s).

~—y

sath tm

- Gase 24150792-hlb Ddc 1333! Entered 12/20/24 15!18:55--] Page 16 of 16) 0]

Page 6 of
_~ Acgount’ §11949117.:-

Robinhood: Markets Inc. asagentfor, 62 Sr,
Robinhosd Secures LLC.” Proceeds fforh Broker and Barter Exchange Transactions
‘ 1099-B*: OMBNo: i071 7S, OT! atinues co Ted

“* (continued): ” 020112023...

LONG TERM TRANSACTIONS FOR COVERED TAX LOTS {Ordinary gains or losses are identified in the Additional information column] (Lines 2 & 5)
Report on Form 8949, Part II with Box D checked. Basts is provided to the IRS. (Line 12)
“Gain or loss {-)" is NOT reported to the IRS.

1a- Description of property/CUSIP/Symbol

1c-Date 1d- Proceeds & 1f- Accrued mkt disc (D) & Gain or loss{-} &
sold or 6-Reported ‘b- Date 1e- Cost or 1q-Wash saleloss 7-Less not allowed (}
disposed Quantity {Gjress ar (Njet acquired other basis disallowed (W) also not reported (2) Additional information
AGEAGLE AERIAL SYSTEMS, INC. / CUSIP: 00848K101 / Symbol:
712 transactions for 11/16/22. Total proceeds and cost reported to the IRS.
8.000 4.660 0812/21 32.07 27.47 W 0.00 tof t2 - Sala
&0c0 460 08/12/21 32.07 27.47 W 0.00 2 of 12 - Safe 78
8,000 4.60 O8ff2/27 32.07 27.47 W 0.00 3 of 12 - Sale #
10,000 a76 8 6o8ft2f27t 40.09 34.33 W 0.00 4 of 12 - Sale
17.000 979 8 08/12/T 68.16 58.37 W 0.00 5 of 12 - Sale 75
37.000 21.30 Ooaff2/2t 148.34 127.04 W 0.00 6 of 12 - Sale
53.000 30.51 8/12/21 212.50 181.59 W 0.00 7 of 12 - Sale
67.000 38.56 08/12/21 268.63 230.07 W 0.00 6 of 12 - Sale *
2.006 §2.96 O8/12/21 368.87 315.91 W 0.00 Sof 12 - Sale *
100.000 57.56 08/12/27 400.95 343.39 W 0.00 10 of 12 - Sale 75
100.000 57.66 08/12/21 400.95 343.39 W 0.00 ti of 12- Sala *
500.000 287.80 08/12/27 1,993.85 1,706.05 W 0.00 12 of 12- Sale 3
1415/22 1,006,000 575.60 Various 3,998.55 3,422.95 W 0.00 Total of 12 transactions
META MATERIALS INC. COMMON STO CK / CUSIP: 59134N104 / Symbok
20 transactions for 12/06/22. Tota! proceeds and cast reparted to the IRS,
200.000 409.97 OG/28/27 1,673.80 7,203.83 W 0.00 1 of 20 - Sale
200,000 469.97 O6/28/21 1,673.80 1,203.83 W 0.00 2 of 20 - Sale
100.000 204.98 06/28/21 806.90 607.92 W 0.00 J of 20 - Sale
100.000 204.98 O6/28/21 799.99 595.07 W 0.00 4 of 20 - Sale
100.000 204.98 06/28/21 769.50 584.52 W 0.00 Sof 20 - Sale
700.000 204.968 O&/28/21 789.92 564.94 W 0.06 6 of 20 - Sale
100.000 204.98 06/29/21 767.08 $82.02 W 6.00 7 of 20 - Sale
100.000 204.98 d6/29/21 787.00 582.02 W 0.06 8 of 20 - Sale
1.000 1.99 06/29/21 7.87 5.88 W 0,00 9 of 20 - Sale
272,000 547.23 06/29/21 2,140.64 1,599.47 W 0,08 10 of 20 - Sale
27,000 53.72 06/29/27 212.76 159.04 W 0.00 11 of 20- Sale
100.000 7198.98 6/29/21 791.96 592.98 W 0.08 12 of 20 - Sale
700.000 198.98 06/29/21 783,76 584.78 W 0.06 13 of 20- Sale
700.000 230.98 06/2027 783.76 552.78 W 0.00 14 of 20- Sale
100.000 230.98 G6/29/27 771.00 540.02 W 0.00 15 of 20 - Sale
706.000 290.98 06/20/24 753.71 522.73 W 0.00 16 of 20- Sale
100,000 236,98 06/20/21 748.81 517.83 W 0.08 t7 of 20 - Sale

* This is important tax information and is being furnished to the internal Revenue Service, if yau are required to file a return, a negligence penalty or other sanction may be imposed on you if
this income is taxable and the IRS determines that it has net bean reported. Remember, taxpayers are ultimately responsible for the accuracy of their tax return(s).
